Case 2:20-mj-01185-DUTY Document 4 Filed 03/16/20 Page 1 of 5 Page ID #:38




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                                                 2:20-MJ-1185
     Case 2:20-mj-01185-DUTY Document 4 Filed 03/16/20 Page 2 of 5 Page ID #:39



 1             d.    pose a danger to another or the community.

 2              Pretrial Detention Requested (§ 3142(e)) because no

 3              condition or combination of conditions will 'reasonably

 4              assure:

 5              a.    the appearance of the defendant as required;

 6        z1    b.    safety of any other person and the community.

     El   3.    Detention Requested Pending Supervised Release/Probation

                Revocation Hearing (Rules 32.1(a)(6), 46(d), and•18 U.S.C.

 9              § 3143(a)):

10        El    a.    defendant cannot establish by clear and convincing

11                    evidence that he/she will not pose a danger to any

12                    other person or to the community;

13              b.    defendant cannot establish by clear and convincing

14                    evidence that he/she will not flee.

15   El 4.      Presumptions Applicable to Pretrial Detention (18 U.S.C.

16              § 3142(e)):
17              a.    Title 21 or Maritime Drug Law Enforcement Act ("MDLEA")

18                    (46 U.S.C. App. 1901 et seq.) offense with 10-year or

19                    greater maximum penalty (presumption of danger to

20                    community and flight risk);

21              b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

22                    2332b(g)(5)(B) with 10-year or greater maximum penalty

23                    (presumption of danger to community and flight risk);

24              c.    offense involving a minor victim under 18 U.S.C.

25                    §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

26                    2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

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     Case 2:20-mj-01185-DUTY Document 4 Filed 03/16/20 Page 3 of 5 Page ID #:40



                     2260, 2421, 2422, 2423 or 2425 (presumption of danger

2                    to community and flight risk);

               d.    defendant currently charged with an offense described

 4                   in paragraph 5a - 5e below, AND defendant was

5                    previously convicted of an offense described in,

 6                   paragraph 5a - 5e below (whether Federal or

7                    State/local), AND that previous offense was committed

 8                   while defendant was on release pending trial, AND the

 9                   current •offense was committed within five years of

10                   conviction or release from prison on the above-

11                   described previous conviction (presumption of danger to

12                   community).

13       5.    Government Is Entitled to Detention Hearing Under § 3142(f)

14             If the Case Involves:

15             a.    a crime of violence (as defined in 18 U.S.C.

16                   § 3156(a)(4)) or Federal crime of terrorism (as defined

17                   in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum

18                   sentence is 10 years' imprisonment or more;

19             b.    an offense for which maximum sentence is life

20                   imprisonment or death;

21             c.    Title 21 or MDLEA offense for which maximum sentence is

22                   10 years' imprisonment or more;

23             d.    any felony if defendant has two or more convictions for

24                   a crime set forth in a-c above or for an offense under

25                   state or local law that would qualify under a, b, or c

26                   if federal jurisdiction were present, or a combination

27                   or such offenses;

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     Case 2:20-mj-01185-DUTY Document 4 Filed 03/16/20 Page 4 of 5 Page ID #:41



 1             e.    any felony not otherwise a crime of violence that

 2                   involves a minor victim or the possession or use of a

                     firearm or destructive device (as defined in 18 U.S.C.

 4                   § 921), or any other dangerous weapon, or involves a
5                    failure to register under 18 U.S.C. § 2250;

 6             f.    serious risk defendant will flee;

               g.    serious risk defendant will (obstruct or attempt to

8                    obstruct justice) or (threaten, injure, or intimidate

 9                   prospective witness or juror, or attempt to do so).

10        6.   Government requests continuance of               days for detention

11             hearing under § 3142(f) and based upon the following

12             reason(s)

13

14

15

16

17   //
18   //
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                          4
     Case 2:20-mj-01185-DUTY Document 4 Filed 03/16/20 Page 5 of 5 Page ID #:42




         7-    Good cause for continuance in excess of three days exists in

               that:




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 9   Dated: March 13, 2020               Respectfully submitted,
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11
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12                                       Assistant United States Attorney
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